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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION

COLLEEN VENTURA,                            )
                                            )
       Plaintiff,                           )
                                            )       No. 3:10-cv-321
       vs.                                  )
                                            )
UNITED RECOVERY SYSTEMS, LP,                )       STIPULATION OF DISMISSAL
                                            )
       Defendant.                           )


       Now come the Plaintiff, COLLEEN VENTURA, and the Defendant, UNITED

RECOVERY SYSTEMS, LP, and hereby advise the Court that they have stipulated that this

matter shall be dismissed with prejudice, each party to assume their own costs, subject to a

settlement agreement reached between the parties.


/s/ David B. Levin                                  /s/ Thomas L. Rosenberg
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on December 23, 2010, a copy of the foregoing Stipulation of Dismissal

was filed electronically. Notice of this filing will be sent by operation of the Court’s electronic

filing system to all parties indicated on the electronic filing receipt. Parties may access this filing

through the Court’s system.



                                                       /s/ David B. Levin
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